                               11TH COURT OF APPEALS
                                  EASTLAND, TEXAS
                                      JUDGMENT

Thomas Anthony Gutierrez,                      * From the 385th District Court
                                                 of Midland County,
                                                 Trial Court No. CR53583.

Vs. No. 11-23-00236-CR                         * August 8, 2024

The State of Texas,                            * Memorandum Opinion by Williams, J.
                                                 (Panel consists of: Bailey, C.J.,
                                                 Trotter, J., and Williams, J.)

     This court has inspected the record in this cause and concludes that there is no
error in the judgments below. Therefore, in accordance with this court’s opinion,
the judgments of the trial court are in all things affirmed.
